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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       NEW ALBANY DIVISION


JANE DOE 1, JANE DOE 2, JANE DOE 3,                       )
JANE DOE 4, JANE DOE 5, JANE DOE 6,                       )
JANE DOE 7, and JANE DOE 8,                               )
                                                          )
                          Plaintiffs,                     )   CAUSE NO.: 4:22-CV-0094-SEB-DML
                                                          )
                 vs.                                      )
                                                          )
JAMEY NOEL, in his official capacity as Sheriff           )
of Clark County; DAVID LOWE, individually                 )
and in his official capacity as a jail officer of the     )
Clark County Jail; and UNKNOWN JAIL                       )
OFFICERS, individually and in their official              )
capacities as jail officers of the Clark County           )
Sherriff’s Department,                                    )
                                                          )
                          Defendants.                     )

                                        SUMMONS IN A CIVIL ACTION

TO: (Defendants’ names and addresses)
 Jamey Noel, Sheriff                                    Mr. David Lowe
 CLARK COUNTY SHERIFF’S DEPARTMENT                      c/o CLARK COUNTY SHERIFF’S DEPARTMENT
 501 East Court Avenue                                  501 East Court Avenue
 Suite #159                                             Suite #159
 Jeffersonville, Indiana 47130                          Jeffersonville, Indiana 47130



         A lawsuit has been filed against you. Within 21 days after service of this summons on you (not
counting the day you received it) or 60 days if you are the United States or a United States agency, or an
officer or employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) you must serve on the
plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiffs’ attorney, whose name and
address are:


                                         Stephen M. Wagner, Esq.
                                         Laura W. Swafford, Esq.
                                   11939 North Meridian Street, Suite 100
                                            Carmel, IN 46032
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                                                                                     Civil Summons (Page 2)
Civil Action Number: 4:22-CV-0094-SEB-DML

       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.
                                                            CLERK OF COURT


Date: ______________________                                _______________________________________
                                                            Signature of Clerk or Deputy Clerk


                                          PROOF OF SERVICE
           (this section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))
        This summons for (name of individual and title, if any) __________________________________
was received by me on (date)__________________.
        I personally served the summons on the individual at (place) ____________________________
        ________________________________________________ on (date) __________________; or
       I left the summons at the individual’s residence or usual place of abode with
(name)________________
        _____________________________________, a person of suitable age and discretion who resides
        there, on (date) __________________, and mailed a copy to the individual’s last known address;
        or
        I served the summons on (name of individual) ________________________________________,
        who is designated by law to accept service of process on behalf of (name of organization)
        _________________ _______________________________on (date) __________________; or
        I returned the summons unexecuted because _________________________________________;
or
        Other (specify):


My fees are $ _____________for travel and $_______________for services, for a total of
$_______________.
I declare under penalty of perjury that this information is true.


Date: ____________________                __________________________________________________
                                                 Server’s Signature

                                          __________________________________________________
                                                 Printed name and title

                                          __________________________________________________
                                                 Server’s address

Additional information regarding attempted service, etc.
